 

Case 2:11-cv-11542-LPZ-MKM ECF No. 4, PagelD.27 Filed 05/09/11 Page 1 of 50

Via

UNITED STATES DISTRICT COURT ! L E
EASTERN DISTRICT OF MICHIGAN M
AY 09 201
CLERK's
OFFIC
Kristopher Dorr DETROIT e
Plaintiff(s)
V. Civil No. 11-11542

Judicial Officer: Hon. Lawrence P. Zatkoff
Ford Motor Company
Defendant(s)

Kristopher Dorr

14633 Plymouth Rd, Unit 39
Detroit, M!. 48227
517-918-1294

Plaintiffs Objection to Judges Dismissing Complaint and
Motion for the court to reverse the decision, and remand this case back to the court

for a trial by jury and other relief

Kristopher Dorr who is represented Pro Se, Objects to the Dismissing of this Complaint and Motion for

the court to reverse the decision, and remand for a trial by jury for the following reasons:

1. On Aprit 11,2011 Plaintiff filed Dkt. #1 Complaint and Motion for other Relief with factual claims
of violations of the Genetic Information Nondiscrimination Act (GINA).

2. On April 11, 2011 Plaintiff filed Dkt. # 2 Request to proceed In Forma Pauperis with and affidavit
pertaining to his assets.

3. On April 27, 2011 Judge Lawrence P. Zatkoff ruled in Plaintiff favor granting Application to
proceed in Forma Pauperis but ruled against Plaintiff by Dismissing this Complaint. Dkt. #3.

4. Plaintiff is not and never was a prisoner at any time in his life. Plaintiff also notes that he does
not work for a government entity, but is a Ford Motor Company employee. Therefore Title 28
U.S.C. Sec. 1915A was used in error.

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10.

11.

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13.

Plaintiff notes that Title 28 U.S.C. Sec. 1915{e) refers to the court requesting an attorney to
represent any person unabie to afford counsel. Plaintiff neither requested nor desire to be
represented by an attorney appointed by this court.

Plaintiff notes that Title 42 U.S.C. Sec. 1197e(C}{1) refers to prisoners, Therefore this statute
does not pertain to plaintiff as a person or this action brought before this court. Furthermore,
Ford Motor Company is not immune from this civil action.

Plaintiff notes that in case no. 2:10-cv-13822 Kristopher Dorr v. Ford Motor Company, Judge
Arthur J. Tarnow did not dismiss that action with substantially the same narrative. This court
should not dismiss this action based on failure to state a claim.

In Paragraph 5 of the Judges response he clearly explains a hostile work environment just as in
the narrative in Dkt. #1 Complaint and Motion for other Relief. Plaintiff's also wants to reiterate
that he started at Ford Motor Company’s Michigan Truck Plant in Wayne, MI. In 2001 he
transferred to Romeo Engine Plant in Romeo, MI. In 2004 he transferred to Auto Alliance
International in Flat Rock, MI. at no time in the statement did Plaintiff state or elude to working
in St. Louis, MQ.

Plaintiff also notes that the graffiti written on abandoned duildings in the City of Detroit indeed
refer to his Hebrew national origin and that with all of the vandalism on abandoned buildings,
this court has seen some of the graffiti mentioned in this complaint.

Plaintiff would like to cite evidence from Civil Action 92-0449 Akweiv. NSA., with regard to
Remote Neural Monitoring. Plaintiff also notes that in case no. 2:10-cv-13822 exhibits on
dockets #26 and 33 gives a detailed description on some of the materials used in the Remote
Neural Monitoring Process.

Plaintiff informs this court that in H.R. 3200 prior to passage as P.L. 111-148, proposed
amendments to the Federal Food, Drug and Cosmetic Act, under Subtitle C sec 2521(A){1)(B),
amending (g)(2)(A}&(B), (3}(A}(1)(i)&(B)} calls for registry of data from disparate data
environments. P.L. 111-148 sec. 1554(5) states that the Secretary of HHS shall not promulgate
any regulation that violates informed consent.

P.L. 111-148 Sec. 3021(b} explains the content of records matched against Federal and State
data including vital records, employment history, enrollment systems, tax records and other
data deemed appropriate. Plaintiff did not give consent to anyone to acquire his genetic
information for enrollment in any Federal or State Health and Human Services Programs.

Plaintiff informs the court that Title 28 U.S.C. sec. 1915(e} is inapplicable to this case because
Plaintiff is not and never has been a criminal neither has Plaintiff been incarcerated in any State
or Federal Penal Institution, inside or outside of the United States.
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Wherefore, Plaintiff who is represented Pro Se, Objects to the Dismissal of this action and Motions
the court review the decision, grant Plaintiff his Constitutional rights under the 7" Amendment and

remand this complaint back to the court for a trial by jury and other relief.

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Kristopher Dérr

Pro Se.
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Index of Exhibits

Exhibit A
1. Gale Cengage (Citing)

Evaluation of interactions of electric fields due to electrostatic discharge with human tissue
(Author Abstract}

2. Gale Cengage (Citing)
“Evaluation of interactions of electric fields due to electrostatic discharge with human
tissue” (Comments and Replies) (Author Abstract)

3. Gale Cengage (Citing)
“Command Performance” Nature

Exhibit B
1. Replacing Amalgam (silver/mercury} Fillings (Citing)

2. British Dental Association (Citing)
Manchester Location

3. Dr. Philip Wander Profile (Citing)

4. AMEDNEWS.COM (Citing)
AT&T forms health IT division

5. AMEDNEWS.COM (Citing)
U.S. plans to create massive medical claims database

6. AMEDNEWS.COM (Citing)
Electronic medical records: What your data can tell you

Exhibit C
1. FCC Order (Citing)

Bluechiip Ltd. Tracking Solutions Request for Waiver of Section 15.205(a) of the Commission’s
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2. TV White Spaces Databases and Database Administrators (Citing)
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3. Alaska Science Forum (Citing)
Powerful Radio Signals add ree Soundtrack Article #1221

4. Amateur License — AB7VP — Hunsucker, Robert D. (Citing)

5. Alaska Science Forum (Citing)
Radiowave Effects on Humans Article #386

Exhibit D
1. US Patent #7056431 Method for electrochemical analyses (Citing)

2. US Patent #4512744 Method enabling rapid identification of humans and animals (Citing}

Exhibit E
1. Psychiatry’s Shocking New Tools (Citing}

2. Biological Dental Center (Citing)
Human Energy System: Energetics of the Mouth

3. Mind WorkStation (Citing)
Brainwave Entrainment Software for Professionals

Exhibit F
1. Mail Online (Citing)

Are U.S. government microwave mind-control tests causing TV presenters’ brains to melt
down?

2. Remote Neural Monitoring: A technology Used For Controlling Human Brain (Citing)
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Exhibit A

1. Gale Cengage (Citing)
Evaluation of interactions of electric fields due to electrostatic discharge with human tissue

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2. Gale Cengage (Citing)
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3. Gale Cengage (Citing)
“Command Performance” Nature
1 Gase Addncy-tlh4?4 B&sMKM, ECF No. 4, PagelD.33 Filed 05/09/11 Page 7 of.80j oF 1

 

Title:;Comments on "Evaluation of interactions of electric fields due to electrostatic discharge with human
tissue".(Cormments and Replies} Author abstract)

PublJEER Transactions on Biomedical Engineering

Detail:Ronald L. Seaman and James A. Comeaux Jr. 53.6 (June 2006): p1220€1).

Abstract:

Attention is drawn to recent paper by Rogers etal. (Aug., 2004) in which ultra-wideband pulses are appiied
lo an isolated muscle as part of deriving a strength-duration curve for threshold stimulation. The paper
extends the strength-duration threshold curve for unipolar pulses down to a pulse duration of about | ns,
on the order of 1000 times shorter than previously studied. Results of the work justify use of traditional!
mathematical models of the strength-duration curve for nanosecond pulses, as done recently for the

electric field resulting from electrostatic discharge through the body (Dawson, et al., 2004).

Index Terms--Electrostatic discharge, strength-duration curve. threshold, ultra-wideband pulse.

Source Citation
Seaman, Ronald L., and James A. Comeaux Jr. “Comments on ‘Evaluation of interactions of electric fields

due to electrostatic discharge with human tissue’." JEEE Transactions on Biomedical Engineering 53.6
(2606): 1220. Health Reference Center Academic. Wed. 18 Mar. 2011.

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Title:;Evaluation of interactions of electric fields due to electrostatic discharge with human tissue.(Author
Abstract)

PublEEE Transactions on Biomedical Engineering

Detail:T.W. Dawson, M.A. Stuchly and R. Kavet. 51.12 (Dec 2004): p2194(5).

Abstract:

Electrostatic discharges (ESDs} produce in the human tissue very strong electric fields of short duration.
Possible biophysical tnteractions are evaluated by comparing the fields in subcutaneous fat/skin to the
thresholds for peripheral nerve stimulation, and by computations of membrane potential and electric fields
in cytoplasm ofa typical cell in bone marrow. It is found that a 4-A peak ESD event is capable of
stimulation of nerves located in subcutaneous fat of the lower arm of the hand eliciting a spark, with tens
of kV/m and pulse duration of ~ 80 ns. For the same ESD event, the transmembcane potential (TMP)
reaches 32 mV with a pulse duration of ~ 200 ns (half-width duration). The electric field in the cytoplasm

ofa bone marrow cell changes from about 8.8 kV/m to--2 kV/m in about 200 ns.

Index Terms--Cytoplasm, electrostatic discharges, electric Meld, human body, membrane potential, neural
stimulation,

Source Citation
Dawson, T.W., M.A. Stuchly, and R. Kavet. “Evaluation of interactions of electric fields due to
electrostatic discharge with human tissue." /EEE Transactions on Biomedical Engineering 51.12 (2004):

2194+. Health Reference Center Academic. Web. 18 Mar, 2011,
Document URL

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Documents&tvpe=retrieve&tab] D=T602& prodid=HRCA &docld=A 12556765 7&source=gale&srcprod=HR

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Front: galeadmin@cengage.com (galeadmin(écengage.com)

To: krisdorr@yahoo.com;

Date; Fri, March 18, 2011 5:52:26 PM

Ce:

Subject: Health Reference Center Academic:Command performance.

Jones, David. "Command perfomance, " Nature. 388.n6643 (August 14, 1997): 63001). Health Reference Center Academic. Gale. Nortolk

Law Library. 18 Mar. 2011
http./tind. galegroup.com/etx/infomark.do? &contentSet=IAC-
Documents &ty pe=retrieve&tablID=T002 &pradid=HRCA &docld=4 20009908 &source=gale&:userGroupName=mlin_m_norfolk&version=1.0

Abstract:

 

It has been hypothesized that pulsed magnetic fields used on selective parts of the human brain can actually reduce depression or affect motor
control. Unlike electro-shock therapy, magnetic pulses of a precise frequency, shape and amplitude can theoretically be used to induce current
in and therefore trigger a desired cluster of nerve fibers in a desired part of the body. Thus, pulsed magnetic fields can be used to trigger
sensory nerves, block pain by inhibiting sensory nerves in specific areas or improve muscular strength and coordination,

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http://us.mg201.mail.yahoo.com/de/launch?.gx=1&.rand=43me00mbbjios 3/19/2011
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Exhibit B

1. Replacing Amalgam {silver/mercury) Fillings (Citing)

2. British Dental Association (Citing)
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4. AMEDNEWS.COM (Citing)
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5. AMEDNEWS.COM (Citing)
U.S. plans to create massive medical claims database

6. AMEDNEWS.COM {Citing}
Electronic medical records: What your data can tell you
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ental Health Care

Dr FhAilio Wander

BOS MGDS RCS DFHom
Homeopathic Dentist
in Manchester

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moans

 

cosmetic
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REPLACING AMALGAM (SILVER/MERCURY) FILLINGS

We can safely remove amalgam (silverfmercury} fillings and replace them with more aesthetically
wo ee pleasing tooth coloured fillings. White fillings will make you feel and look healthier,

vt 5 Oe : os.) This mercury free dentistry
‘ er ’ gection outlines the dangers
posed by silver fillings:
concentrated electric fields:

r cen * hypersensitivity; and
em EF , toxicity.
MOP 50 % .

 

ee +

 

A disturbance in the field
Teeth can work like batteries. Metal in the mouth produces electrical fields around certain teeth which can

produce many bizarre effects. American holistic dentist Hal Huggins used to show slides of teeth that hac been
cut open to shaw the scorch marks they contained where electrical currents had been running for many years.

This effect is hardly surprising when you consider that, with every filling in your mouth, there are two or more
metals and a saltwater fluid medium (saliva). This is exactly haw Aflessandro Volta's original baiteries were
made, and the battery in your current motor-car is essentially the same thing.

The trouble starts because of the fact that electrical currents leach the mercury out of the teeth through an
effect called ‘electrolysis’, where damage is due to the passage of galvanic (uni-directional) electrical current.
This is why same patients complain of a constant metallic taste in the mouth, whicn is made worse by hot fluids
and salty foods (as these create more electrolysis). Most warrying, electrolysis ts capable of releasing deadly
mercury vapour, which goes straight to the brain tissue, where is it highly invasive and toxic,

Nevertheless. as potentially damaging as mercury in the mouth ts the electricity itself. When testing teeth for
electrical effects, | have seen momentary sparks of up to one volt - enough to light a small torch or flashiight
I's worth remembering that the currents generated by amaigams are farmed very close to the brain, which
ordinarily operated at far lower potentials (only a few miliivalts). Fhe brain lies only a few millietres from the jaw
bone. where the roots of the teeth are inserted, just an the other side of the thin cranial bone and the meninges
(the three membranes enveloping the brain and spinal cerd). This kind of current can cause metnal
dysfunction, which } often find in clinical practice.

One patient of mine, a 44-year oid woman with Meniere's disease, also suffered from vertigo and vomiting, with
intermittent staggering {so-called sailor's gait}. She couldn't think clearly any more and had trouble with her
mamory and eyesight. These mental problems, plus a constant pain in the nape of the neck, left her unable to
work. But as her doctors could find no clinical explanation, she was told it was all in her head - which in a way
was true. When a brain tumour was suspected, tests were required to exclude this grim possibility

Eventually, a surgeon referred her to a Dr Helmut Raue, an electroacupuncture specialist who understands

biological dantisiry. He measured her teeth for galvanic currents and found @ 215 microampere current
between a gold filling and a nearby amalgam. A week after sne had the amaigam removed. all pain had

http://www. wanderdental.co.uk/mercuryfreedentisiry.html 5/3/2011
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disappeared, and her balance had returned io normal.

As patients usually don't consult their dentist when they experience symptoms such as headache, facia!
neuralgia, dizziness, sleep disorders and digestive distrubances, such cases don't often come to light.

Energetic Fields
Besides simple battery problems, electroacupuncture practitioners are finding teeth as transmilting foci to be a

common cause of energetic disturbance. The prabiem is much more complicated than it might at first seem.

Several key acupuncture meridians cross tne line of the teeth as they pass over the face. An abscess or
‘ransmitting focus’ can create pathological effects anywhere along the meridian. As these meridians are
connected to secondary organs and other sites, problems with a front incisor may have an impact on the
kidneys as the kidney meridian passes through the incisor teeth. The kidneys, in tum, are related to the knee
joints. With patients who have incisor problems or a bridge at this location, | always surprise them by asking
about the arthritis in their knees, which they invariably have.

The consequences of these interconnections are sometimes very surprising indeed. In one case, a dentist had
prepared a crown prosthesis, the type that uses a nickel post that fits in a hold drilled down the centre of the
tooth to give it suppor. As the post was being inserted in the righi upper jaw, the patient tet out a squeal; she
had gone blind in the right eye. When the dentist removed the corwn, she could see again. When he then put it
back on, she went blind again. This was repeated several times, after which she refused the crown and had the

tooth removed.

What is important about this striking example of what we might call ‘virtual dentistry’ is how instantaneous the
the reaction was. For this reason, it could not have resulted from a chemical or even metal toxity. Allergies to
nickel are not uncammen but, clearly, it would take time to develop and become manifest. The sudden loss of
the patient's vision indicated a clear neurological dysfunction along the optic pathway due to a field
disturbance, probatly at the quantum level.

This story makes vividly clear what risks we take when we allow metal into our mouths. The resuiting
disturbance of the body's energy field can have unpredictable and serious consequences. If this woman had
not lost her vision immediately, but had gone blind over the subsequent few weeks, it is near-certainty that the
correct cause would never have been diagnosed. She would have likely ended up undergoing harmful and
unnecessary interventions, ali of which would fail because they were not correcting the real problem.

Three types of problem
There are really three issues where mercury is concerned. The first is the tendency of mercury to concentrate

electrical fields. This is an ordinary biophysical effect and explains why people with teo many dental fillings
cannot work in areas where large field currents ara developed.

The second is hypersensitivity. This is really more or fess an allergic reaction to mercury and various estimates
place this a applying to between 1 and 15 percent of the popluation. Anyone in prolonged contact with mercury
tends to develep a sensitivity - thus dental students show a sharp increase in the percentage of positive patch
tests for mercury sansilivity as they progress through their studies.

In passing, it should be noted that similar sensitivities can occur with cther metals, notably nickel, chromium,
cobalt and gold, though these are rare.

The third and most important effect has been talked about already: that is, toxicity. We inhale mercury vapour
from our amaldam and swallow its compounds. This loss of mercury is increased by chewing hot or salty foods.

Unfortunately, mercury from the teeth has an especially great affinity for brain tissue but it also lodges in other
body organs. It can have a disastrous effect on the immune system.

Oral galvanism
Another surprise reason for the release of the metal in its natural state entirely unthought of until the last few

years, is electrolysis - that is, the electrical dissolving of metal. Amalgam-filled teeth can actually act as tiny
batteries and give off a current. Examination of the inside of sucn teeth show oxidation (scorch) marks where
the current has flowed over many years. Sa, far fram being safe, having denial fillings ts rather akin to sucking
a mercury lozengne continuously!
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The symptoms

The symptoms of mercury toxicity can be many and varied. In fact the range of effects covers ail target organs.
It seems to contribute to allerey prablems, probably by increasing the bedy load, so any allergy symptoms can

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be prolonged or made worse by it. Suppression of the immune system may coincidentally lead to Candida
overgrowth and it may be difficult to eradicate this organism without first attending to the possibility of mercury

poisoning.

Mercury toxicity should be considered in any allergey case not responding to proper treatment. This is espcially
important in degenerative and auto-immune diseases such as multiple sclerosis, lupus erythematasis,
rheumatoid arthritis, colitis and even, it is said, arteriosclerosis (hardening of the arteries). Also any vague
mental symptoms not responding to other treatment. such as lethargy, depression, loss of memory, ete. might
well begin to recover after removal of toxic mercury.

Testing and treatment
We have been bedevilled for years by the lack of a good, objective test to show whether or not the patient is

reacting to mercury. The only standardised ‘scientific! test for mercury allergy is patch testing. This ts very
unreliable and, although positive results may be helpful, negative ones do not exclude the presence of
significant reactions. We are now able, with the use of Live and Dry Blood Microscopy te detect heavy metal
toxicity and tailor make an individual elimination programme.

Treating your mind, body & mouth
How we would test for mercury sensitivity:

1. Check ail teeth for galvanic currents, noling the most negatively charged teeth. Anything up to about
50mvV is ‘acceptable’, though hardly normal. Over that should give cause for concern.

2. Test for mercury sensitivity. If indicated then it is vital to test for safe replacements. Alternative filling
substances are composite, porcelain and gold.

3. Test for heavy metal taxicity with Live and Dry Blood Microscopy.

4. {it may be suggested that the patient go on nutritional supplements to leach out mercury and other
heavy metals (chelation). The simplest supplement is sodium alginate, found in seaweed - kelp is quite
a satisfactory source. Coriander is also efficient. The use of supergreen's may aiso be recommended.

5. Where the allergist is not the dentist it is necessary to write to the patient's dental practiticner at this
point. He or she must be advised of several safety precautions

Most important: If fillings are to be removed, they must be removed in the right sequence, otherwise the
patient could get much worse. It is essential ta start with the most negatively- charged tooth and then wark
gradually towards the positively-charged ones.

The dentist must isolate the ieeth and provide efficient air extraction to prevent the patient swallowing mercury
vapour. It is also a good idea for the patient to take charcoal tablets before and after amaigam exiraction, to

absorb any stray mercury.

For more sick patients, it may be a good idea to go on a hypoallergenic diet and take vitamin and mineral
supplements through this period, starting a few days before the first visit to the dentist. See pre-treatment

instructions below.
Pre-treatment instructions

e Charcoal:
1 tablet on the morning of your treatment and 1 tablet after treatment

® Multi Vitamins:
1 tablet to be taken 3 times a day - the day before, day of and day after treatment.

e Selenium:
1 Tablet to be taken on the day before, day of and day after treatment.

« Homeosathic Amalgam:
Let 2 tablets dissolve under your tongue, ihe day before, the day of and the day after the treatment.
NOTE - The tablets can be chewed cf sucked “on a clean tongue” at least half an hour ater food,
coflee, and peppermint {including toothpaste o7 tobacco)

« Viamin Cc:

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Allow a quarter teaspoon of the powder to dissolve in a small amount of water. Take on the moming ci
treatment and in the evening after treaiment.
e Drink:
Flenty of bottled, still water on the day of treatment.
« Propolis and Supergreens:
May be prescribed at my discretion.

It needs to be understood that the alternative materials cannot be expected to be as durable as the mercury
amalgam. Patients are advised to go to a dentist who has had a lot of practica with these alternative types of
filling.

 

 

 

 

 

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(lental Health Care

Or Philip Wander
BCE MGOS RCS GFHam
Honmeopainic Dentist

in Manchester

Tel G151 834 1643

~SUTCLIFFE®.

 

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7OPSO *
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Street.

As a celebrity dentist, Dr Wander comments regularly in the

media about dentat topics of interest and you may have seen :
or heard him on BBC Greater Manchester Radio or ITV .

Granada.

For years people have taken care of themselves using
techniques and medicines that work with, rather than against,
the body. You may not realise that the same natural and
minimally invasive care is also available for your feelh and
mouth. Dr Philip Wander specialises in dentistry techniques
that minimise discomfort, and improve health, net only in your
mouth, but in your body as a whole.

 

 

As founder and Chair of the 2: He nig 0 :
Asso 7 he has over 15 years experience of using
homeopathy in dentistry, both to prepare patients for
treatment and to encourage healing afterwards. He is one of
the best known homeopathic dentists in the UK and his work
has fed him te being awarded an honorary fellawship of the
Faculty of Homeopathy.

 

 

   

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Or Philip Wander ts a reknowned homeopathic dentist to the
reated many Manchester United footballers including David
Beckham, Ryan Giggs, Eric Cantona and Mark Hughes, as well as other
footballers including Paul ince, Andy Cole, Lee Sharpe, Nikky Butt, Gary
Pallister, Andrei Kanchelskis. Other celebrity patients that have attended the St
Ann's Square dental practice include Tina Turner, Val McDermid, Bryan Robson,
Johnny Vegas, Helen Mirren, Robert Carlyle, Claire Moore (Phantom of the Opera),
Pete Wylie (The Mighty Wahl}, Sir John Manduell, The Dakotas, Nick Freeman (Mr
Loophole, celebrity lawyer), and TV stars including many actors from Coronation

 

With over 30 years experience in dentistry he is recognised. both in the UK and internationally as an expert in
clinical dental photography - a topic an which he has lectured extensively.

Dr Wander's priority as a dentist is to provide you with the
highest quality dental care using materials and methods which
optimise your overall health. Fram the moment you step into
our warm and friendly reception area you can be reassured
that your physical and mental wellbeing is our first priority, Or
Wander understands that many people are a iittle
epprehensive when visiting the dentist and he will do
everything he can to put you at ease

Whether or not you already have in mind the treatment you
would like, we will spend your first appointment discussing
your past medical and dental history and reviewing the
treatment options available to you. Or Wander firmly believes
that you should take an active and integral role in your dental
health.

htto://wayvw. wanderdental.co.uk/philipwander. html

 

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DOr Wander wil! provide you with detailed information on the proposed procedures, enabling you to make an
educated decision, and will take as much time as you need to answer questions and conerns. Once we have
agreed on the most suitable treatment, Dr Wander will often prescribe a homeopathic pre-treatment
programme to prepare your body for the procedure, boosting your immune system and encouraging healing. If
you are particularly anxious he can aiso provide you with some remedies to help you relax.

At all times during the treatment, he will keep you informed about the procedures taking place. Our
sophisticated cameras allaw you to see exactly what he sees fn your mouth, and enable you lo monitor and
understand the bespoke treatment you receive. After each stage of the treatment has been completed you will,
if necessary, receive further homeopathic remedies to reduce any discomfort. These remedies are effective

and have no side effects.

lf your heaith is such that you would benefit from further investigations, Dr Wander can refer you to
racommended naturopaths, nutritionists and herbalists and organise testing for food tolerances and mineral
deficiencies. If you have any questions about the treatments available, don't hesitate to speak to our
receptionisis who will be pleased to help

 

 

 

 

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BDA

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Where am i?

 

   

Applies to: Ai Last reviewed: 02/09/2010 Last updated. 25/06/2008

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BCA iJanchester
Lowry House
7 Marble Street
Manchester
M2 SAWS
Tel: See individual contacts beww
Fax 0161 698 8673

The BOA Manchester office openad in May 2008. Sy
develaping 4 more regionalised approach, the BDA aims
to bé more responsive to its members, Opening the
Manchester office is an impartani step towards achieving
this goal, There are currently five members of BOA staff
based in Manchester, and we wil be developing the orice
and adding mors staff as time goes on

 

The BGA Manchester office is in central Manchester, about 15-20 minutes’ walk away
from Piccaditly railway stalion. The tram service is excedent. with the nearest slops

being Market St (2 mins wail), Piccadilly Gardens (5 reins walk) and Mosley Street (4
mins walk, soutnoourd only}

 

Joanne Whistler
NW Regional Consuttant

 

The NW Regional Censuitant promotes lhe interests of BDA memsers in the IN’
of Engiand. and aims ta Tiake the BRA more responsive to tie needs of ils
members in the region

NB The Regicnal Consultant role requires 4 great deai of time away from the
office, 50 (o ensure pos! reaches Joanne quickly, please use the fellowing
adoress

PO Box 428,
Keignley

BD21 SAA

Tel: 07515 199 G37
Email: 3 i

 

Laura Thompson
Student Marketing Executive

 

The Student Marketing Executive promotes the SOA to denial undergraduates in
the LIK, provides their main gaint of contact with the BDA, and develops praducis
and services tg ‘neet their néecs

NB The Student Markating Executive role requires 4 great deal of time away from
the office. sc ta ensure post reaches Laura quickly, please use the fallowing
agiress:

 

British Dental Associ:ti
54 Wimncle Street.
London ‘

 

Paula Slinger
Business Adviser

 

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The Susiness Advisor is responsible ler researching, maritoring, anatysing ard
advising memhers on the business aspects of Tunning a dantal practice;
incorporating. NHS dentistry, ‘inance anc tax, Dusiness structures. propery and
planning matters. prvaie practice coriversion, seltag up in practice. Duying and
selling a practice, business planning and business strategy and marketing

Melanie Hockanhull Shabana Ishaq
Practice Management Consultant Practice Management Consultant
Tel: 020 7563 4574 Tel: 026 7563 4574

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The Practice Management Cansultant is responsible for provicing advice to
members on issues encountered in the course of running a dental praciice, This
guidance focuses primarily on empioyment and commercial matters. ranging
from dismissals to the recovery of debts. The Practice Management Consultant
also researches, updates and informs members of racent changes ts the law
affecting the running of a dental practice

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Amertoun Medical News
BUSINESS
AT&T forms health IT division

AT&T ForHealth will focus on developing and delivering teleheailth, cloud
computing and wireless monitoring devices.

By PAMELA LEWIS DOLAN, amednews staff. Posted Nov. 24, 2010.

AT&T announced that it has formed a division geared toward health information
technology, a market it estimates to be worth nearly $34 billion.

The new division, AT&T ForHealth, will focus on the development and delivery of
health IT solutions, including telehealth, cloud computing and wireless monitoring

devices.

The company said it generated about $4 billion in revenue from its health care industry
businesses in 2009. The company wants to tap further into a market that is predicted to
grow 24% during the next four years from its current $33.9 billion.

"We believe the health care industry is at a tipping point for fundamental change that
will improve patients! care and lead to better health care outcomes," said John Stankey,
president and CEO of AT&T Business Solutions. "Networking solutions using cloud-
based mobility and telepresence technologies can help the overall industry deliver better
care to people while driving costs out of the system.”

The New England Healthcare Institute, an independent research firm in Cambridge,
Mass., released a study in January 2009 estimating that home monitoring and mobile
disease management technology could save the health care industry $4.7 billion to $6.4

billion a year.

Mike Sapien, principal analyst with Ovum, a market research firm in London, said there
has been talk of mobile health applications for several years. Only recently have the
devices become affordable and easy for consumers to use, he said. But challenges to

widespread adoption remain.
Persuading physicians to use, and getting payers to pay for, some of the solutions
AT&T is touting will be difficult. But the company has the “ability to make it stick this

time," partly because the company is promoting the products and services for use among
its employees and is forming key partnerships with others in the mobile health care and

telehealth industry, Sapien said.

In October, AT&T announced a partnership with WellDoc to deploy its mobile diabetes
management solution, which it plans to deploy internally to a select number of AT&T

employees.

In March AT&T announced it will provide wireless connectivity for Vitality

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GlowCaps, a system that sends verbal and visual reminders for patients to take their
medications.

Sapien said the partnerships are important, as is the fact that AT&T knows they need
them to be successful.

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BUSINESS
U.S. plans to create massive medical claims database

Advocates for health privacy raise preliminary concerns and call on the Office of
Personnel Management to postpone its launch.

By EMILY BERRY, amednews staff. Posted Nov. 8, 2010.

The Office of Personnel Management, which manages benefits for federal employees,
intends to create a giant database of medical claims information about those employees
and enrollees in two programs created by the Patient Protection and Affordable Care Act.

In an Oct. 27 letter, the Center for Democracy & Technology, a nonpartisan
Washington, D.C.-based group that advocates for health privacy, asked the OPM for
more information about its intentions, raised preliminary concerns about the idea and
asked the office to delay its launch from Nov. 15.

"The HHS secretary has noted on numerous occasions that privacy and
confidentiality ... [are] foundational to the health care system itself," said Harley Geiger,
policy counsel for the center.

The letter was co-signed by several organizations, including the American Civil
Liberties Union, the American Federation of Government Employees, the AFL-CIO, the
Consumers Union and the National Partnership for Women & Families.

"The research it describes in the notice is very open-ended," Geiger said. "Most people
believe or should reasonably expect their plans to have their medical claims data and
health information, but they do not expect that the government is collecting copies of this
information into one large database for purpose of conducting research on it or disclosing

it to law enforcement."

In response to the letter, the OPM told the group that it would release a revised notice,
ostensibly with more details, as requested.

The agency did not state whether it believed the privacy complaints had merit.

Launch announced

According to its original notice, published Oct. 5 in the Federal Register, the office
wants to gather the claims data from the Federal Employee Health Benefit Program; the
National Pre-Existing Condition Insurance Program, which launched in August; and the
Multi-State Option Plan, which will start in January 2014.

The latter two programs were created under the Patient Protection and Affordable Care
Act.

The database would include claims data on millions of people.

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The Federal Employee Health Benefit Program has about 8 million enrollees.

The Pre-Existing Condition Insurance Pian, which helps individuals who cannot find
coverage in the commercial market because of their health conditions, opened enrollment
in July. The program is run by the Dept. of Health and Human Services in 2] states and
agencies in 29 states and Washington, D.C.

Anticipated enrollment estimates range from 200,000 to 375,000, according to the
Kaiser Family Foundation.

The Multi-State Option Plan is an insurance program scheduled for 2014 that will be
available to people in every state and administered by the OPM.

According to the Federal Register notice, the Office of Personnel Management wants
to use the proposed database to “actively manage the programs to ensure the best value
for both enrollees and taxpayers."

The OPM listed reasons it might share the data, including for law enforcement, court
proceedings and congressional hearings.

The OPM could do a lot with the data, including calculating the costs of various health
conditions and conducting predictive modeling -- examining claims to find patterns to
help predict and prevent serious and costly illnesses, said Jeffrey Gasser, a health data
analytics expert and executive vice president of Deerwalk, a data management firm in
Lexington, Mass.

"The Holy Grail of predictive modeling is to find people who don't cost a lot of money
today, but might cost a lot tomorrow,” he said.

Large- and medium-sized employers have been gathering databases the same way for
many years, Gasser said.

The print version of this content appeared in the Nov. 15 issue of American Madical News.

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BUSINESS

 

{illustration by Chris Gash / www chrisgash com}

Electronic medical records: What your data can tell you

Data analysis will help your practice achieve meaningful use, qualify as part of
an accountable care organization, and identify at-risk patients or inefficient

business practices.

By PAMELA LEWIS DOLAN, amednews staff. Posted May 2, 2011.

One of the perceived advantages of electronic medical records is that physicians will
have a wealth of information that can help them gain greater insight about patients.

The process of gathering and examining this information is called data analytics. For
practices that are applying for federal bonuses for meaningful use of technology, or
planning to work with accountable care organizations, analytics will be critical for
proving that a practice is doing well enough to earn a bonus.

But even a practice that isn't participating in these programs can use analytics to get a
solid, fact-based snapshot of how it is performing. Analytics can show physicians how
similar chronic-care patients are faring, or show common threads among patients, or
even help a practice identify expansion opportunities. And with more health plans
offering performance-based pay, being able to collect data can help a practice prove its

case for a better bonus.

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"Apart from the moral and ethical imperative to do what is the best and the safest and
the most effective treatments for patients ... physicians are also businessmen,” said
Ahmed F. Ghouri, MD, co-founder and chief medical officer of Anvita Health, a health
care analytics firm based in San Diego. Clients include health plans, pharmacy benefit
managers, disease management companies and physicians. "They're going to need
analytics to be more successful, because they're going to need tools to keep patients from
coming back to the hospital and to keep them healthy. They'll make more money by
doing that," Dr. Ghouri said

A practice could pore through paper charts, but you need an EMR system to provide
ways to search and organize patient data. The easier it is to collect and analyze data, the
easier to use that data, whether by reaching out to at-risk patients or instituting changes
to make a practice more efficient and financially sound.

The ultimate goal: seeing the forest of your patient population through the trees of your
individual appointments.

Getting started: What to find
Before running a search, experts say physieians must ask themselves: What do I want to
know?

The first part of analytics is collecting the data. And what a practice collects could be
dictated by outside forces.

Under meaningful use rules, physicians must collect data such as patients’ smoking
status, health problems, medications, symptom surveillance and immunization. Some
data collection is optional, at least for stage 1 of meaningful use. Physicians can earn
bonuses of up to $44,000 from the Medicare program, or up to $63,750 from Medicaid
for installing and using a certified EMR system.

The Office of the National Coordinator, the Centers for Medicare & Medicaid Services
division overseeing the meaningful use program, has made it clear that the data that are
optional for stage 1 will be required for stage 2 and beyond, although the second-stage
requirements are not yet set.

In addition, in proposed regulations for CMS' Medicare Shared Savings Program for
Accountable Care Organizations, health care organizations that align themselves as part
of an ACO will be required to collect certain data. ACOs also are expected to have close
ties with meaningful use criteria. Proposed ACO rules require that at least 50% of
primary care physicians in the ACO be meaningful EMR users.

With the data in hand, physicians might be required by their ACO, for instance, to run
reports on their diabetic patients to track their health and their health costs.

But physicians don't need prodding from an ACO to collect and run data.

Marc Holland, vice president of market research at HIMSS Analytics, said most
practice management systems and EMRs, especially those certified to meet stage |
meaningful use, allow for rudimentary analyses of data, such as creating reports of all the
patients with a particular condition, or patients within a particular demographic.

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Depending on the type of EMR a practice is using, it automatically might generate
predefined reports that can be accessed by clicking on a file within the EMR.

Most EMRs also will have a function that allows a query or data sorting to display
information for analysis. Examples include a list of all diabetic patients or a list of all

patients within a certain age range.

Data analytics would be used to identify at-risk patients to assess their needs and
identify if those needs are being met, experts said. For example, Prevea Health, a health
care system in Green Bay, Wis., conducted a study to measure the effectiveness of
analyzing patient data to identify possible at-risk diabetic and hypertensive patients and
to reach out to them.

"Having the ability to run reports that sit on someone's desk does no one any good,"
said Ashok Rai, MD, CEO of Prevea Health of Green Bay, Wis. Organizations must be
able to take action on that data, he said. And the more immediate that action, the better

the results.

Next step: what to do with the data

Prevea used analytics to identify diabetic patients who had not had a hemoglobin Alc
test in at least six months and hypertensive patients who had not had a systolic blood
pressure reading in the same time frame. The system identified the patients, then flagged
the ones who were considered noncompliant. Once those patients were identified, an
automated phone call asked them to come in for a checkup.

The organization found in a later analysis that those patients who received the calls
were about twice as likely as those who did not receive them to come in for a wellness
visit and undergo the necessary tests. Results of the study were published December
2010 in the Journal of Population Health Management.

Holland used the example of a Washington, D.C, hospital at which an emergency
physician noticed a spike in patients with gastric problems over 24 hours. Using data
from the hospital -- as well as data from hospitals and physician practices that belonged
to the same affiliated health information exchange network -- the doctor was able to
query the number of patients from across that network who presented with similar gastric

problems.

Using that data, investigators were able to identify a food poisoning outbreak and even
identified a convenience store and a spoiled batch of delt meat as the source.

Similar analysis could identify areas for practice expansion or research, experts say. For
instance, physicians could query the number of overweight patients in a community for
purposes of launching support groups or creating nutritional counseling services.

"The ability to have a software agent in the background monitoring this kind of data
and looking for patterns, and the ability to highlight to a human being what the software
senses to be an unusual pattern, has tremendous value," Holland said.

The future: the evolution of analytics
Some additional analytic tools physician practices may want to adopt can be built for a

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few hundred dollars depending on the depth and complexity the practice wants, Holland
said. Tools also may depend on whether the practice plans to use only its own data or
pull from other sources, such as other health information exchange participants, and how
outside data are made available.

Data analytics can be used by small practices, but experts said it works even better if
those practices have access to information beyond their walls, such as the example
Holland gave about how a large network was used to identify a food poisoning outbreak.
That way, physicians have a larger sample size to examine if necessary.

As more health care organizations adopt EMRs, and more health information exchanges
are formed, Holland said, there will be a much wider set of data to analyze and more
ways for health care organizations to use those data.

Health care organizations should start planning for future analytics so the technical and
logistical groundwork can be laid, said Dr. Ghouri from Anvita Health. He said it's not
practical for an organization to decide on doing this type of activity then go live with itin
30 days.

Regardless of whether a practice plans to participate in the meaningful use or ACO
incentive plans, experts said, the government has made clear that physicians eventually
will need analytics to increase revenue and improve quality.

HIMSS Analytics Vice President of Market Research Marc Holland died on April 16
after a brief illness, as this story was prepared for publication.

ADDITIONAL INFORMATION:

Data requirements

Stage | of meaningful use can serve as a great starting point for practices that want to
start experimenting with data analytics, experts say. There are requirements that involve
collecting certain data and running reports on those data.

Core requirements involving data

= Collect patient demographics (sex, race, ethnicity, date of birth, preferred language, and in
case of hospice care, preliminary cause of death).

= Collect vital signs, and chart changes in height, weight, blood pressure, BMI and growth

charts for children.

Maintain problem list and current diagnosis.

Maintain active medication list.

Record smoking status of patients age 13 and older.

Report clinical quality measures to the Centers for Medicare & Medicaid Services or state

agencies.

Menu objectives involving data collection

» Generate lists of patients by specific conditions.
= Submit immunization data to registries or immunization information systems.

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» Submit electronic syndromic surveillance data to public health agencies.

Source: Centers for Medicare & Medicaid Services

The more codes there are, the more data to analyze

Much of the data analytics dealing with patient outcomes rely on the use of diagnostic
and procedure coding data, specifically ICD-9 codes.

But by October 2013, the International Classification of Diseases code set will be ICD-
10. It will result in a marked increase of codes used to identify procedures and diagnoses
-- from 17,000 under ICD-9 to 155,000 under {CD-10.

The change is so great that the American Medical Association and others pushed for a
delay from the original 2011 deadline for implementing [CD-10, which President George
W. Bush granted in January 2009.

However, a report by HIMSS Analytics notes that the increase in codes will allow for a
more specific look at patient conditions and treatments -- and allow for a richer, more
detailed set of data for physicians to use.

"The increased granularity, combined with the increased electronic capture of clinical
data, will yield volumes of new data for which health care organizations will have the
opportunity to translate into information that can be used to improve the delivery of
health care in the United States," wrote the authors of the HIMSS Analytics study.

But, the authors warned, health care organizations will need the proper tools to store,
review and analyze the data for efficient analyses.

The first step for physicians is making sure their electronic medical record vendor has
solid plans to convert their systems to utilize the ICD-10 codes. Thecodes must be
entered and stored by an EMR system before they can be extracted for any type of data
analysis.

WEBLINK

"Using Physician-Led Automated Communications to Improve Patient Health,”
Population Health Management, December 2010
(www.ncbi.nim.nih.gov/pubmed/21 192767)

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» HHS site invites public to compare mortality rates at 4,700 hospitals Sept. 22/29.
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Exhibit C

1. FCC Order (Citing}
Bluechiip Ltd. Tracking Solutions Request for Waiver of Section 15.205{a) of the Commission’s
Rules.

2. TV White Spaces Databases and Database Administrators (Citing)

3. Alaska Science Forum (Citing}
Powerful Radio Signals add ree Soundtrack Article #1221

4. Amateur License — AB7VP — Hunsucker, Robert D. (Citing)

5. Alaska Science Forum (Citing)
Radiowave Effects on Humans Article #386
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Federal Communications Commission DA 11-461

Before the
Federal Communications Commission
Washington, D.C. 20334

In the Matter of )
}
Bluechiip Ltd, Tracking Selutions Request for )
Waiver of Section 15.205{a) of the Commission's j
Rules )
ORDER
Adopted: March 9, 2011 Released: March 9, 2011

By the Chief, Office of Engineering and Technology:

I INTRODUCTION

1. By this action, we grant a waiver of restricted band prohibitions contained in Section
15.205(a) of the Commission’s rules to bluechiip Lid. Tracking Solutions (“bluechiip”) to allow operation
of an inductive tracking device in the 1.5-4.2 MHz band,’ We find that granting this waiver is in the
public interest in that it will permit the use of radio frequency (RF) devices which can ofter improvements
in tracking of genetic, stem cell and other biological materials stored under extreme temperature
conditions without resulting in harmful interference to authorized users in the |.5-4.2 MHz band.

i. BACKGROUND

2. Part 15 of the Commission’s rules permits the operation of low power radio frequency
devices without an individual license from the Commission. The technical requirements contained in Part
15 are designed to ensure that there is a low probability that non-licensed devices will cause harmful
interference to authorized users of the radio spectrum. The Part 15 requirements cover two veneral
clusses of devices: 1) unintentional radiators, such as computers and radio receivers, that intentionally
generate but do not intentionally emit radiofrequency energy, and 2) intentional radiators, such as wireless
networking equipment, cordless telephones and garage door openers, that intentionally generate and emit
radio frequency energy, either by radiation or inducti on,” Operation of intentional radiators is permitted
either under the low levels specified in Section 15.209 or at higher levels in specific frequency bands
under other provisions in Part 15.°

3. Some frequency bands are designated as restricted to protect certain radio services from
interference, such as those services that involve protection of safety-cf-life or that are dependent on very
low received signal levels, such as satellite downlinks or radio astronomy, These “restricted bands” are
specified in Section 15.205." Only spurious emissions are permitted from intentional radiators in the
restricted bands,’ The limits for spurious emissions in the restricted bands are the same as the radiated

 

Bluechiip Ltd. Tracking Solutions, Request for Waiver of Section |5.205(a) of the Commission’s Rules, filed
November [2, 2010.

* See 47 C.F. $8 15.3(z) and 15.3(0).
* See 47 CLF.R. § 15.209.
* See AT CFR. § 15.205.

° See AT CLELR. § 2.1. Spurious emissions are defined as, “Emissions on a frequency or frequencies which are
outside the necessary bandwidth and the level of which may be reduced without atfecting the corresponding
transmission of information. Spurious emissions include harmonic emissions, parasitic emissions, intermodulation
(continued...)
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Federal Communications Commission DA 11-461

mission limits in Section 15.209.

4, Biluechitp manufactures an inductive tracking system that is designed for tracking and
retrieving genetic, stem cell and biological materials stored at extremely cold temperatures in “biobanks.”
The blueciiip system consists of two components: an RF interrogator and non-electronic micro-electro-
mechanical system (MEMS) tags that are capable of being molded into storage containers. Each tag
contains a physical structure of 46 micro-beams in which each micro-beam is designed to resonate
(vibrate) at a specifie RF frequency when excited by a magnetic field generated by the interrogator. The
interrogator detects the presence or absence of particular resonant frequencies from the micro-beam
structure to identify a particular tag. The interrogator steps through 80 sub-bands of approximately 30
kilohertz each over the 1.5-4.2 MHz band. Each read pulse is 40-60 microseconds, and the total time
required to read a tag 1s 200-400 milliseconds.

5. There are three restricted bands within the 1.3-4.2 MHz band: 2.1735-2.1905 MHz, 4.125-
4.128 MHz, and 4.17728-4.17775 MHz.° Bluechiip requests a waiver of Section 15.205(a) to allow its
tracking system to transmit in these restricted bands, [In suppert of its waiver, bluechiip argues that its
system requires the use of the 1.5-4.2 MHz band to perform reliably. It states that it investigated other
frequency bands that are not restricted, but found that higher frequencies suffer from a lower signal-to-
noise ratic, making tags difficult to read or prone to errors. Bluechtip also states that the manufacturing
cof MEMS chips that operate at higher frequencies Js less reliable because the smaller micro-beams
required at higher frequencies have greater variability in their resonant frequencies due to manufacturing
tolerances. It further states that tags operating at frequencies below 1.5-4.2 MHz must be made Jarger to
urclude more coils for inductive signaling, which affects container molding and increases chip impedance
that, in turn, lowers the signal-to-noise ratio and rehability of reading the tag. It claims that the features
which make this technology well suited for biobank applications —small tag size, reliability and low
cost—dictate where in the spectrum the system must operate.

6. Biuechup states that it is unclear whether the Commission’s rule limiting emissions in the
restricted bands to spurious emissions applies to induction devices, e.g., devices that generate a magnetic
field. lf contends that radio receivers in the restricted bands are sensitive only to electric field emissions
and not magnetic Meld emissions like those produced by its device. Bluechiip argues that all transmitted
information from an induction device is in the magnetic field and none is in the eleetric field, so that all
emissions that a receiver in a restricted band is capable of receiving could be reduced without affecting
the transmission of information, and could therefore be considered to be spurious emissions as defined by
our rules.

7. Nonetheless, bluechip argues that. tc the extent a waiver is necessary, its system will not
adversely impact or be impacted by operations in the restricted bands, and therefore the Cornmission’s
policy goals underlying Section 15.205(a) will not be undermined. It states thal its device is intended to
transmil Over a distance of millimeters and produces low emission levels. Bluechtip represents that all
emissions in the restricted bands are below the Section 15.209 limits. It also claims that its system is
immune to interference from high level radiated and magnetic fields in the 1.5-4.2 MHz bands.

8. Finally. bluechtip argues that grant of the requested waiver would be in the public interest. It

 

(Continued from previous page)
products and frequency conversion products, but exclude out-of-band emissions.” Necessary bandwidth is defined
as, ““...the width of the frequency band which is just sufficient to ensure the transmission of information at the rate
and wrth the quality required under specified conditions.”

"The 2.1735-2.1905 MHz band is used by the Federal Emergency Management Agency for high power emergency
response: the 4.125-4.128 MHz band is used by the Global Maritime Distress Safety System for search and rescue
activities; and the 4.17725-4.17775 MHz band is used fur maritime search and rescue. In particular, the frequencies

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2.182 MHz and 4.125 MHz are distress frequencies.

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Federal Communications Commission DA 11-461

states that biobanks are a vital part of health care and biomedical research and that tracking of biological
materials stored in biobanks will be more of a necessity as new uses are discovered and demand continues
to skyrocket. It claims that recent studies indicate that hundreds cf millions of samples are stored in US.
biobanks and more than one billion are stored worldwide. Bluechiip argues that there are difficulties with
present metheds of tracking samples in biobanks, which store biologic material in liquid nitrogen at
temperatures as low as -196 degrees Celsius. It states that barcodes are often obscured by frost and that
barcode labels tend to lose adhesion at extremely cold temperatures. It further states that radio frequency
identification (RFID) systems may be able to read through frost, but they cease functioning at extremely
cold temperatures and the RFID tags cannot tolerate the gamma radiation used to sterilize containers.
Bluechtip states that its technology preduces a virtually indestructible “license plate” which has been field
proven to survive autoclaving and gamma radiation sterilization, humidification, centrifugation and
cryogenic storage.

iff. DISCUSSION

9. Weare authorized to grant a waiver under Section 1.3 of the Commission's rules if the
petitioner demonstrates good cause for such action.’ Good cause, in turn, may be found and a waiver
granted “where particular facts would make strict compliance inconsistent with the public interest.” To
make this public interest determination, the waiver cannot undermine the purposes of the rule, and there
must be a stronger public interest benefit in granting the waiver than in applying the rule.” The
prohibition on operation in the restricted bands listed Section 15.205(a) exists to ensure that Part 15
intentional! radiators do not harmfully interfere with authorized radio services, including Federal
Government services, As discussed below, a waiver of the frequency band restriction in Section
15.205(a) for operations as described by bluechiip can be granted without increasing the potential for
harmful interference. Hence, granting this watver will not undermine the purpose of the rules. Finally,
there is 2 strong public interest benefit in granting this waiver because to do otherwise would prevent the
availability of systems that would enable tracking of biological materials stored under extreme conditions
that is important to the public well-being. Accordingly, we tind good cause exists for granting a waiver
of Section 13.205(a) for the bluechip devices.

10. As an initial matter, we disagree with bluechiip’s suggestion that Section 13.203{a), which
limits emissions in the restricted bands to spurious enussions, may not be applicable to induction devices,
Spurious emissions are by definition emissions that are outside the necessary transmit bandwidth of a
device, whereas the emissions from the bluechiip system that fall within restricted bands are fundamental
emissions.” The fact that the bluechiip system produces primarily magnetic emissions 18 not relevant to
this determination, as the definition of spurious emissions dees not distinguish between electric Tield and

 

"4? CER. & 1.3. See alse ICO Global Communications (floldings) Luntied v. PCC, 428 F.3d 264 (D.C. Cir. 2005):
Northeast Cellular Telephone Co. v. FCC, 897 F.2d 1164 (D.C. Cir, 1990). WAIT Raciio vy. FCC, 418 F.2d 1153
(D.C. Cir. 19693.

* Northeast Cellufar, 897 F.2d at (166: see also ICO Global Communications, 428 F.3d at 269 (quoting Northeast
Cefhitary, Wait Radio, Al& F.2d at 1137-59

” See, e.g., WAIT Radio, 418 F.2d at | 157 (statung that even though the overall objectives of a general rule have been
adjudged to be in the public interest, it is possible that application of the rule to a specific case may not serve the
public interest tf an applicant's proposal dees not undermine the public interest policy served by the rule); Northeast
Cellar, 897 F.2d at 1166 (stating that in granting a watver, an agency must explain why deviation from the general
rule better serves the public interest than would strict adherence to the rule).

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See supra note 3,

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magnetic field emissions. Thus, we find that a waiver of Section 15.205{a) is necessary for this device to
operate in the 1.5-2.4 MHz band.

1]. We believe that, based upon bluechiip’s representations, grant of the requested waiver 1s in
the public interest. As bluechtip describes, biobanks are a vital part of health care and biomedical
research, and there are large number of biological samples stored in bicbanks in the U.S. and worldwide.
Existing tracking technologies such as RFID and optical barcodes may not function properly under the
extremely low ternperatures in biobanks or may not survive the high temperatures and/or radiation used to
sterilize containers. Bluechiip indicates that its svstem can function under the low temperature conditions
in biobanks and that its tags can survive the conditions used to sterilize equipment. Grant of the requested
waiver will permit the introduction of these new tracking technologies that have benefits for the public,
whereas application of the existing rule would deny these public benefits.

12. We also find that grant of the requested waiver will not cause harm to Federal Government
systems or other operations in the 2.1735-2.1905 MHz, 4.125-4.128 MHz, and 4.17725-4.17775 MHz
bands. As bluechiip describes. the device operates over extremely short distances; on the order of
millimeters, Bluechiip represents that the device is capable of complying with the Section 13.209
radiated emission limits, and it is required to submit test data taken in accordance with the applicable
measurement procedures to demonsirate compliance with these limits to obtain certification for the
device.'' Also, the device will be operated only indoors in Diobank facilities where the wails will
attenuate radiated emissions.’ Additionally, the device does not transmit continuously, but rather steps
through 80 frequencies and transmits on each particular frequency for only 40-60 microseconds during
the 200-400 milliseconds required to read a tag, which corresponds to a transmit duty cycle of much less
than 1%. Thus, the potential for the bluechiip system to cause interference to authorized services in the
restricted bands is extremely low. Further, operation of this device will be subject to the Part 13
requirements thar it may not cause harmful interference to authorized services and that tt must cease
operation in the event interference eccurs.’” Therefore, grant of a waiver of Section 15.205(a) will not
undermine the purpose of this rule.

TV, ORDERING CLAUSE

13, Accordingly, pursuant to authority in Section 0.31, 0.241 and 1.3 of the Commission's rules,
47 CF.R. sections 6.31, 0.241 and 3.3, and Sections 41}, 302, 303(e), and 303(r) of the Communications
Act of 1934, as amended, 47 ULS.C. Sections 154(1), 362, 303(e), and 303(r), IT IS ORDERED that the
request for waiver of Section 15.203(a) filed by bluechiip Ltd. Tracking Solutions IS GRANTED, This
action is effective upon release of this Order,

FEDERAL COMMUNICATIONS COMMISSION

Julius P. Knapp
Chief, Office of Engineering and Technology

 

"' See Request for Waiver at 9, Attachment A at [0-11 and Attachment B at 6.
* See Request for Waiver at 9.

S See 47 CER. § 15.5.
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TV White Spaces Databases and Database Administrators

1, Overview

The Commission’s rules provide for operation of iow power unlicensed wireless devices in the
broadcast television spectrum {TV bands} at locations where that spectrum fs unused by licensed
services.' This unused TV spectrum is commonly referred to as television “white spaces” (TV
white spaces}, The unlicensed devices that operate in this spectrum (TV band devices) generally
provide communications of broadband data and other services for consumers and businesses,

To identify unused spectrum, i.e., vacant channels, TV bands devices must include a geo-location
capability and the capability to access through the Internet a database that identifies incumbent
licensed operations entitled to interference protection. The protected incumbent operations,
include for example, full power and low power TV stations, broadcast auxiliary point-to-point
facilities. low power auxiliary service cperations (wireless microphones}, PLMRS/CMRS
operations on channels }4-20, and the Offshore Radiotelephone Service.” The database also
includes records reflecting the protected locations and channels of certain radiofrequency services
that are not recorded in Commission databases.’ The database accessed by the device will
respond with a list of the TV channels that are vacant and can be used at the device’s location."
The rules state that the Commission will designate one or more entities to administer the TV
bands database function for a term of 5 years.” The Commission has delegated authority for
oversight and management of thé database administrator(s) and their functions to its Office of
Engineering and Technology (OET)®

This website provides information regarding TV white databases, their designated administrators
and the Commissicn’s requirements for their approval and performance,

il. Selection of the Database Administrators

On January 26, 2011, the OET issued an Order designating nine entities to serve as TV white
spaces database administrators. Based on the information filed by the conditionally designated
administrators, OET found that each of the applicants had shown that they have the technical

 

' See Second Report and Order and Memorandum Opinion and Order (Second Report and Order) in ET
Docket No. 04-186, 23 FCC Red 16807 (2008) and Second Meniorandum Opinion and Order (Second
Memorandum Opinion and Order) in ET Docket No. 04-186, FCC 10-174, adopted September 23, 2010.
The rules for unlicensed devices that operate in the TV bands are set forth in Sections 15.701-.717 of the
Commission’s rules, 47 C.P.R. §§ 15,.701-.707. These rules also contain provisions for devices that rely
on spectrum sensing to determine available channels.

* See 47 C.F.LR. $ 15.711. See 47 CER. § 15.717,

* Gd. (e.g. the locations of 1) cable headends and low power TV receive sites that are outside the
protected contours of the TV stations whose signals they receive; 2) authorized wireless microphones and
other low power auxiliary devices are used on a regular or scheduled basis, and radioastronomy sites).

“ See 47 CPLR. § 15,713(ar(b).

> See 47 CER. § 15,715,

° See Second Memorandum Opinion and Order at (107.
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expertise to develop and operate a TV bands database. However, OET indicated that these
designations would be subject to the entities fulfillment of and compliance with certain conditions
intended to ensure their adherence to recent changes in the rules and te provide for strong
oversight of their system designs and operations by the Commission.’ These conditions are:

1. Each of the designated database administrators must supplement its previous filings with
sufficient detailed information to indicate how it will comply with the rule changes
adopted in the Second ifMQ&O, Amendments to proposals must be received by February
28,2011. Any of the database administrators that fled separate proposals and now wish
to consolidate their operations must submit an updated proposal by this same date. Any
database administrators that wish to withdraw their proposals must notify the
Commission by this same date.

All database administrators must attend workshops to be conducted by OET to address
the operation of the databases to ensure consistency and compliance with the rules and
the database trials, as described herein. Each administrator shall designate a responsible
party who will represent its organization at the workshops and also ensure compliance
with all of the conditions herein by February 28, 2011. The first workshop is scheduled
for March 10, 2011 at the Commission’s Laboratory in Columbia, Maryland.

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Each database administrator must cooperate with any steps OET deems necessary to
ensure compliance with the rules, including for example security features.

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4. Database administrators must agree that they will not use their capacity as a database
manager to engage in any discriminatory or anti-competitive practices or any practices
that may compromise the privacy cf users.

Database administrators that successfully satisfy all of the conditions herein will be allowed to

make their databases available for actual use for the five vear term specified in our rules.’ OET
will announce the public availability of each database, at which time the five vear term for that
database will commence.

II. The Database Administrators

The designated TV white space database administrators and their status with respect to the
required submissions under conditions | and 2 above are:”
~ Comsearch
Contact information: H. Mark Gibson, 19700 Janelia Farm Boulevard, Ashburm, VA

20147
Approval status: Pending

 

* See Order by the Chief, Office of Engineering and Technology, adopted and released January 26, 2011,
DA 11-131,

5 See 47 C.F.R. §15.715(h) as revised by the Second MO&O.

" These nine entities submitted prepesals in response to a Public Notice that the Commission's Office of
Engineering and Technology released on November 25, 2009. See “Office of Engineering and
Technology Invites Proposals from Entities Seeking te be Designated TV Band Device Database
Managers,” Public Notice, DA 09-2479, ET Docket No, 04-186, rel. Nov. 25, 2009. The information
requested in the Public Notice was based on rules for TV bands databases adopted in the Second Report
and Order and Memorandum Opinion and Order.
Case 2:11-cv-11542-LPZ-MKM ECF No. 4, PagelD.62 Filed 05/09/11 Page 36 of 50

- Frequency Finder, Inc.
Contact information: Peter Moncure, 8910 Dick’s Hill Parkway, Toccoa, GA 30557

pmoncure@radiosoft.com
Approval status: Pending

- Google Inc.
Contact information: Alan.Norman, 1600 Amphitheatre Parkway, Mountain View, CA
94043 alannorman’@google.com

Approval status: Pending

- KB Enterprises LLC and LS Telcom
Contact information: Dr. Georg Schine, Im Gewerbegebiet 31-33, D-77839 Lichtenau,
Deutschland GSchoenem@l Steleom.com
Approval status: Pending

- Key Bridge Global LLC
Contact information: Jesse Caulfield, ]600 Tysons Bivd., Suite 450, McLean, VA 22102
jesse.caulfield@kev bridgeelobal.com
Approval status: Pending ,

- NeuStar, Inc.
Contact information: Brian Rosen, 1773 Pennsylvania Ave.. NW, Washington, DC
20006 brian.rosen’@neustar. biz
Approval status: Pending

- Spectrum Bridge, Inc.
Contact information: Neeraj Srivastaya, 1064 Greenwood Blvd, Lake Mary, FL 32746
L.Ssrivastavai@spectrumbridge.com
Approval status: Pending

- Telcordia Technologies, Inc.
Contact information: John P. Malvar, 1 Telcordia Dr, Piscataway, NJ 08834
imalyvar@telcordia.com
Approval status: Pending

- Alrity, Inc. (formerly WSdb LLC)
Contact information: Adam Drobot, 2M Companies, 340! Armstrong Ave., Dallas, TX
78205-3545 Adam.Drobot@2M.com
Approval status: Pending

IV. Database Workshops and Dissemination of Information

As indicated above, all database administrators are required to attend workshops conducted by
OET. Atthese workshops, OET will instruct the database administrators on how to comply with
the database rules, identify tasks that must be completed by each administrator, and establish
milestone dates for reporting progress on or completion of the identified tasks, Each database
administrator is to designate a responsible party from its organization who will attend the
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workshops and ensure that the organization complies with all of the conditions below; responsible
parties may also have an additional person from their organizations attend each workshop."

The workshops will be conducted at the FCC Laboratory in Columbia, MD by staff of OET’s
Laboratory Division. OET will address implementation details and collect information from the
database administrators in these workshops; it will also provide guidance on the requirements to
the database administrators on an as needed basis. The database administrators may also decide
on their own to meet separately to discuss the varicus tasks and may include other interested
parties in their meetings; however, OET will make final decisions on implementation issues
affecting the databases and their operation and all decisions will be publicly available. OET will
establish a webpage to post information about, and may seek comment on, the guidance that it
wiil provide to the administrators. Each database administrator must cooperate with any steps
OET deems necessary to ensure that the TV bands databases provide accurate and consistent lists
of protected services and available channels. Further, they must support capabilities that OET
deems necessary to ensure that any changes in registration of protected facilities in one database
are rapidly reflected in all others, The workshops are intended to serve as a valuable tool for
ensuring that each administrator understands the rules and effectively implements them.
Additional guidelines and information will also be published as OET's Knowledge Database

(KDB) at www.fec.zov/labhelp.

V, Database Trial Periods

Each database will be subject to a trial period of not less than 45 days before it is allowed to be
made available for actual use by TV bands devices to allow interested parties an opportunity to
check that the database is providing accurate results. During the trials, the database
administrators will need to provide a means for the Commission and others to enter geolocation
data to obtain lists of available channels. The FCC staff will subject each database to inquiries
for lists of channels available at specific locations (the specific locations examined will be
revealed after testing and will vary across the trials of different database systems}. The public
also allowed to make such trial inquiries for available channels,

A longer trial period may be required if the OET determines that a database is net in compliance
with the Commission’s rules. OET will determine the details of each trial (trials will be as
consistent as possible across different databases, with the exception of the specific geographic
locations of inquiries, but may reflect differences in the design, structures and methodologies
used in individual database systems}, balancing the need to ensure that the database is working
properly with the need to avoid an unnecessarily cumbersome and burdensome process.

 

“° We recognize that some of the administrators intend to use subcontractors for various database
functions. It is not our intent to interfere with these private arrangements; however, the administrator wilt
be ultimately responsible for the activities of the subcontractor and for ensuring that the subcontractor
complies with our rules. The responsible party named by the administrator will be the point of contact for
Commission staff. However, responsible parties may, from time to time, have another person member of
their organization represent them at a scheduled workshop in their place.
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Alaska Science Forum

February 9, 1995

Powerful Radio Signals add Free Soundtrack
Article #1221

by Ned Rozell

This column is provided as a public service by the Geophysical Institute, University of Alaska
Fairbanks, in cooperation with the UAF research community. Ned Rozell, is a science writer at the
institute.

It's one of life’s little irritations---I answer my telephone, and the person on the other end
sounds a lot like Elvis. Then I realize that a local a.m. radio station is broadcasting an Elvis
song, which is somehow being picked up by my phone and competing with the caller for my
ear.

How does my phone turn into a radio receiver? I spent four years in the Air Force working
on radios, and I remember the receivers as rather large, complicated boxes, crammed with
tiny electrical components and a web of wires. My phone doesn't seem that complicated.

According to Robert Hunsucker, a professor emeritus at the Geophysical Institute with the
University of Alaska Fairbanks, my phone isn't that complicated, and neither is a receiver
circuit. A receiver is so simple. Hunsucker said, that anything from a phone to a person's
mouth can act as one.

At its most basic. a receiver circuit consists of only three elements: an antenna, which picks
up an electromagnetic radio signal; a detector, which is an electrical component that
converts the radio wave to an audio signal the human ear can pick up; and a transducer,
which is anything that acts like a speaker.

When I asked him about my phone, Hunsucker correctly deduced that I live close to the
transmitter antenna of a local a.m. radio station. Because I live less than a mile away from
the station, Hunsucker said I'm in the near-field of the transmitter, an area where the strength
of the signal emitted by the radio station is strongest. The near-field is the area within a few

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wavelengths of a transmitter antenna---usually within a mile or so depending on the
characteristics of the transmitter.

Within the near-field, the radio-frequency signal emitted by the transmitter is so strong that
things not designed to be antennas---like telephone wires---can act like them. Hunsucker
said radio-frequency waves from the a.m. station probably are traveling over the phone line.
into my house, and into my phone.

As the signal instantly reaches the phone, a detector pulls the audio signal off the radio
wave. The component acting as a detector in my phone is probably a diode, Hunsucker said.
A diode is a semiconductor device, which offers greater resistance to the flow of electrical
current in one direction than in the opposite direction. This trait allows a diode (or, in the
presence of a very strong radio signal, an overdriven component that acts as a diode) to
convert the incoming radio frequency signal into a direct-current voltage.

The direct-current voltage produced by the diode has peaks and valleys that correspond to
Elvis's voice and the sound of his backup band. This voltage is felt and expressed by a
transducer, which, in the case of my phone, is the little speaker that functions as the ear
piece, and I hear the King.

Hunsucker said the problem can sometimes be cured with a radio-frequency filter that can
be attached to the phone line. He also said that if the radio signal is very strong, a filter
might not be enough.

Such is the extremely rare case when a person's mouth acts as a receiver. The electrical
conductivity of the human body can act as an antenna. A metallic filling in a tooth, reacting
just so with saliva, can act as a semiconductor to detect the audio signal. The speaker in this
case could be anything that vibrates within the mouth enough to produce noise, such as
bridgework or maybe a loose filling.

In those cases of extremely strong radio-frequency waves, Hunsucker said the receiver effect
can be eliminated by surrounding the bogus receiver with a grounded, copper-screened cage.
Or you may choose to sit back and enjoy the music.

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ULS License
Amateur License - AB7VP - Hunsucker, Robert D

Call Sign AB7VP Radio Service HA - Amateur
Status Active Auth Type Regular .
Dates

Grant 04/09/2007 Expiration 06/03/2017
Effective 04/09/2007 Cancellation

FRN 0016335267 Type Individual

Licensee Name

Hunsucker, Robert D
7917 Gearhart St
Klamath Falls, OR 97601

BR Rae 0b

Operator Class Amateur Extra Prev. Op. Class Advanced
Group A Prev. Call Sign KL/CYS
Eligibility Code

Trustee /Custodian (for Non-Individuals Only)

Name Call Sign

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uliowave Effects on Humans, Alaska Science Forum Page | of 2

Alaska Science Forum

March 28, 1980

Radiowave Effects on Humans
Article #386

by T. Neil Davis

This column is provided as a public service by the Geophysical Institute, University of Alaska
Fairbanks, in cocperation with the UAF research community. T. Neil Davis is a seismologist at the
institute.

Damaging effect to the human body by radio waves will result if the waves are intense
enough to heat up the body. The extreme example is what happens to meat put ina
microwave oven.

Ifa person's body is immersed in a strong radiowave field the electrons and ions in the body
try to oscillate in unison with the radiowaves. This means energy is extracted from the radio
wave and converted to tiny oscillatory motions of electrically-charged components of the
body. The more the motion, the higher the body temperature.

In the Soviet Union, regulations require that workers not be exposed to radiowave radiation
in excess of 10 microwatts per square centimeter. One hundred times this radiation level
(i.e., | milliwatt per square centimeter) will create slight temperature increase in humans, the
rise being about the same as results from normal light physical activity. Prolonged exposure
to this intensity of radiowave radiation probably causes permanent damage. Exposure to 10
to 100 milliwatts definitely causes damage to the eyes; it cooks the eye lens enough to cause

cataracts.

Scientists and the government agencies charged with protecting human health in Western
countries are unwilling, so far, to agree with claims by their eastern European and Soviet
counterparts that very low microwave levels (10 microwatt to 1 milliwatt) are dangerous.
However, they admit that it is an open question.

One reason the question is unanswered is that the energy absorbed by a human from radio

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adiowave Effects on Humans, Alaska Science Forum Page 2 of 2

waves depends upon the relationship between the size of the human and the frequency of the
radio waves. Just as a TV antenna of the right length and orientation picks up the best signal
(the most energy) from a transmitted wave, so it is with a human being. [t appears that the
cranial cavity of a mammal will resonate at specific radio frequencies determined by the size
of the brain cavity. At these resonant frequencies the human head will absorb vastly more
radiowave energy than it will at other nearby frequencies.

An adult's head will resonate at a frequency between 350 and 400 MHz (megahertz). Being
smaller. a child's head will resonate at a higher frequency, somewhere between 600 and 850
MH. Since each individual may have his or her own resonant frequency, a particular
frequency radiowave might affect one person more than another. Consequently, testing on
humans--even if people are willing to let this happen--can be rather complicated.

Aside from the question of permanent damage by absorption of too much radiowave energy,
there is the issue of how much radiation it takes to temporarily modify human behavior or
mental ability. It is suspected that a microwave signal modulated (1.e., pulsed) at the
frequencies where human brainwaves operate (1 to 20 Hz) may affect mental processes,
even if the radiation is too weak to create substantial heating of the brain.

Quite obviously it is a complicated issue to determine the effects of radiowaves upon
humans and other animals. Just knowing the strength of the radio signal a person is
immersed in is not enough. Critically important may be the frequency match between the
signal and the person's body and whether or not the signal is modulated at a frequency that
could match up to a person's brainwave pattern.

Complicating matters even further is the finding that mammals can be made to "hear" pulses
of radiowave emission. Pulses at frequencies within a mammal's hearing range can cause
periodic healings of the head. These create pressure pulses in the ear that are interpreted as
sound. Further, some studies have indicated radiowave effects upon cell processes that could
affect the nervous system, the cardiovascular system and immunity to disease. The effects
are not necessarily all bad: certain cancers are being successfully treated with radiowaves,
and the future of even greater success looks bright.

Health index Main

 

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Exhibit D

1. US Patent #7056431 Method for electrochemical analyses (Citing)

2. US Patent #4512744 Method enabling rapid identification of humans and animals (Citing)
Case 2:11-cv-11542-LPZ-MKM ECF No. 4, PagelD.71 Filed 05/09/11 Page 45 of 50

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7,056,431. Method for electrochemical ‘analy ses ~ Patents.com

 

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7,056,434
June 6, 2006

 

Method for eiectrochemical analyses
Abstract

Cental amalgam 4s an alecirode material in voltammetry is sravided raving a very high averpotential ta
hydragen, Accordingly, trace anaiyses can be carried aut at porentais sufficiently negative to allow
determination of @.g. zine, cobalt. nickel and iran al trace levels. Such analyses have net previously been
nossitle sxcent by using @ mercury of & Mercury fim elecirede. Sucn determinations are very imporant for
fisid and antine @ arialy3es ¢ cf pollutants is seth end groundwaier, and the electrode can be used repaatedly.

Inventors Schroder; Knut (Trandneim. NO), Mikkelsen; Oyvind (Katiem, NO)
Appi. No 10/287,443
ied. April 9, 2004
PCF Filed: April 9, 2001
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Claims

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Case 2:11-cv-11542-LPZ-MKM ECF No. 4, PagelD.72 Filed 05/09/11 Page 46 of 50
» Patent # 7,056,431. Method for electrochemical analyses - Patents.com Page 2 of 4

 

Tat (3 claimed is:

 

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at least one electrade, whe

 

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2. Tha methed accarding to claim 1. wherein ing silver-meccury amaigam comprises one part pure silver crystals for dental use and approxi

 
 
 
 

 

ses 2 clurality of slectrodes, wherein tha vellammetvic analysis Involves a fedex reaction at ¢
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the sctution

arding ta claim 2, wherein the electrode syst
using an analysis cell and the plurality of electrodes arranged in the analysis cell, wherein ite anatysis cell is filled with a solution tc be
ing signal as 4 consequence of the redox *Bection, and wiverain the measurng signal is a measure of the concentration of a component in

      

 

   

   

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The meted according to claim 2, wherain the yeltammescric ar

compnses a plurality of aecirodes, wnoerein the vollammeiric analysis invelves a redox reaction at an alecirode

     
 

14. wherein the vellammetric analysis i$ 4 differential pulse ancdic suipping tyee voitammeuy

   

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surface, using an analysis cell and the plurality of electrodes arranged in the analysis cell, wherein ihe analysis call is dwith 4 sciution to be analyzed through production of a
msasuring signal as 2 consequence of the redox reaction, ana wherein the measuring signal is a measure of the concentration of a component in the setulian,

     

 

2. The method according te claim 1, wherein the electrode system comprises 4 plurality of electrodes, wherein the voltammetric analysis involves 4 redox reaction at an electrode
surface, using ar analysis cell and the piurality of electrodes arranged in (he anaiysis cell, wherein the analysis cell is filled with a solution to be analyzed through production of g
ction, and wherein the measuring signal is a measure of the concentration of a carmpenent in the solution,

 

measuring signa! as a cansequence of the redox i

Bescriptian

fIG155, which was filed on Apr. 9, 2004

 

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This appiication c:aims priority under 35 U.S.

BACKGROUND OF THE INVENTION

The prasent invention relates ta an electrode for use in electrachemical analysis.

 

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ince the develaoment of polaregraphy by Professor J. Heyrovsky in 1922, liquid mercury and liquid di
the use cf vottai for analytical purpeses. This is mainly due to the nigh overvoltage te hydrogen. which enagl
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tyoica! examale is the determination of zinc. this baing virtually impossible without using a mercury, of a mercury dim ele

  

Que ta the toxicity of mercury and fiquid diluted mercury compounds, [he use of such campaunds is increasingly res
field ana ontine applications.

 

SUMMARY GF THE INVENTION

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properties of dental amatgam as an electrode material in vaitammetry have been stuaed. It was fo
Sowing trace analyses to be carried ow! ai pctentials si fenily negative ta aiiaw determination of e.g zinc. cobalt, nicke! and iron al trace levels. Th
pos except by using a mercury of a mercury film electrode. Such determinations are very important for feld and antine analyses of pollutants in soil and groundwater,
alecirede can be used reneatedly. The aiectrade is also solid. —

     
  

   

    

      

 

 

Silver and mercury are the main comeonents of dental amalgam. However, commercial dental alloy has sare tin, copper and zinc content in order to improve Ine mechanical

properties for deniai use A sure silver amaigam can be used to avoid interferences

 

The electrades can o¢ procuced using tecliniques weil established in dentai p

 

ecial properties of dental amalgam campared with mercury itself, its toxicity is very low, although its use in the mouth is sormewhnat disputed. As ne wnersased amount
in the groundwater clase to cemeteries, ihe use of such simalt electrodes for sod and graundwaier analyses are obviously without any hazard

    

         
 

resent analyses desenbe such électrades and some araiirningr heavy metal analyses, using differential pulse straping vckammetry. This
bias the determination of, for example, zine in the concentration | ramprovements can obviously be obiained by ophmizing the camposition of the
sand the electroiyte, and by the aoptication of squad ta the efectr (Application of sound te an slesgtrode system is described in the inventars’ Nonwegian patent

 

 

gaplication number 1299 1314)

in a first aspeet of the present invention thers is provided an electrode for use in electrochemical analysis, where the electrode comprises armaigam in a sold state,
feGe surace. comeonsira an analysis

fa@redox reaction al the
ses amalgem ina solid

Ina secand aspect of the invention there is provided a means for performing electrocnemical analyses invoiving a redox reaction al an Sec!
call. 2 system of glectrodes arranged in the analysis cali filed with a solution lo be angiyzed througaA production of a measuring signal as a consequer
lecivodes, wherein the measuring signal is a measure of tne concentration of a component in the sa

     
 

    

      

     

 

 

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rm may be any solid amaigam to be approved to be at least in the same environmenial
gam in the electrade may be made using methods famiiar in dental

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“he electrode may pe used as a measunng slecirods in vo

The invention 's slated in the @upended clams.

 

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DESCRIPTICN GF THE DRA.

 

fhe invention will now be descrifed in the following with reference to the accompanying drawings. wher

 

 

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FIGS. 2 is a cross-sectional view of a solid electrode accarding to an ermherimeant of ie inversion:

is a graph showing a yollammedtric scan of a 20 yea

 

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EiG. 4 is a vollammcgram showing the detection of zinc on a working eiectrade camtaining a nan-zinc armslyamn for demtal use:

 

tion for the experimental conditions :n

 

g pean Currant for Zinc as a4 junction of concen

 
 

wiianecus ection of zinc, cadmium and lead.

 

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ae Peo me ee Tt ais yyy 4
Case 2:11-cv-11542-LPZ-MKM ECF No. 4, PagelD.73 Filed 05/09/11 Page 47 of 50
» Patent # 7,056,431. Method for electrochemical ana yses - Patents.com Page3o

; DESCRIPTICN OF THE INVENTION

 

& Experimentat

  

The analyses were performed as differential pulse anodic striopmg volanimetry, using a ihre 1. The three etectrodes in FIG. i are an
tar glectrade, whe the dental amalgam elecrode. a counter ele! id a reference cles ree-i 2 system is immersed in an 2lectrolyte. The {hres-
ace syslem is connected to a potentostai. The potenticstat js connecte gia! device that can perterm all modes of
volammeiry.

   
  

     
   

  

 

 

The counter electrode was a platinum wire and potantials were measured vs a silverfsilver chicnde/saturated silver chioride/saturated potassium chleride reference electirade

 

The working electrode was a silver amaigam electrode as dlugtrated in FIG. 2. Three types of dental amalgams we

han sealed in cermit

       

+. The initial axperiments ware performed by using an amatgam tooth filling about 30 years old, which was attached to a Copper wire wilh silver epoxy, the
ram T+F Gmbr4}. The coaper wire was connected te the voltammetric equipment These experiments were carried oul ta study if the dental amaigam showed overpotential ta
nydrogen. Tne analyses were performed by differential pulse anodic strigping voltammetry in KNO.sub.2 (0 1 M, 199 mij solutien thal was purged with nitrageg (10 min! prior ta

 

ihe analyses.

2. The second silver amaigam ciectrade was prepared by the faliowing procedure using the facilities in a dental clinic: Equal amounts of analytical grade mercury were mixed with
sign copper non-qamma 2-alloy for dental use (ARDENT FUTURA, Ad Ardent, Marsia Sweden}. The non-gamma 2 alloy consists of 44.9% silver, 20.0% tin and 25.5% copper a
Dentomat 2 Degussa emaigam mixer for dental use was employed for mixing the amalgam. The amalgam was forced into an inen ceramic ied by an amalgam gun (Na. 340,
tawe Neos Dentall, in a way similar to the lechniaue used fer dental fillings, and sealed around 4 copper wire as shown in FIG, 2, The copper wire was connected to the
voltammetic equipment. The experiments using this electrode were carried out to prove iff was passiole to detect zinc at a non-zinc dental amalgam siectrede. If it was found
that zine could be deposited and detected vollaminetrically oy using this sleciredé, this would alse indicate that other heavy metals couid be detected by use of @ pure silver
demal ammatgam. The analyses were performed as differential pulse anodic stripping vollammetry in NE.sub.44c¢ (0.05 M. 100 mil solution. The solution was ourged with niiregen
(10 min) prior to the analyses to aveid any disturbance of oxygen.

    

 

   

 

   

3. The third silver amalgam eiectrade was prepared by mixing one part of sure silver crystats for dental use iparticlesSd.muj with 0.65 pars analytical grade mercury, using a
mortar. Immedialaly afler mixing the amalgam was pressed inte a ceramic rod with an amalgan’ gun as described above. Analyses ware perormed by differential pulse anedit
strinping voltammetey in NH.sué 4c (0.05 M, 100 mij). These anaiyses were cone te oreve if it was possible to detect heavy metals. for instance zinc, cadmium and lead, an the
cenial amaigam electrode using a silver amaigam free from impurities use copper and zinc.

 

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The three types of working electrodes were polished once before the experiments using a fine soften sandpaper. ang washed in water purified by t i
Millipore Mili-G Gradiem system (Milioore Corporation, $4 47120 Moisheim France}, Also siancard solutians were made by se of water from ints weter purification sy
reagents were of analytical reagent grace quality.

   

BE. Results
The results will be divided inte three sections, dealing with the respective working 2lecirode ssc.

+. Initial results from using the 30 year oid tocth filling as a working electrode

 
 

 

Some votammeinc scans were performed intially to find 4 the dental amalgam s t hydregen to allow the use of a wide poisniial range. As explained under
the experimeniai section, a thirty year ald tooth filling was used as a workin electrode ing valtamme ic arrangement. Tne typical voltammogram obiainec in a KNO.sub.3 (0.1 M4,
106 ml) solution is shaws in FG. 3. The valtammetric scan 'n 716. 3 41 $ current {iG s4) as a function of sotential (1) aad was performed with a scan rate of 1) msec and

pulse height 25 mv.

3, the dental amaigam pessess the procerly of a greater overvoltage against hydrogen, The peaks cbserved are reflecting the composition of ine
had been extended te around +300 mV, ¢ peak for mercury would probabiy

  

As shown in FIG
presumably corresponding to zine, tin. copter and silver, fram deft to right. IF ihe s

 

 

   

éhigh copper non-vamma 2-adoy) amalgam for dental use as aw

 

2. Rasults from analyses wsing 3 non-

  

Analyses in order to prove if it was possibie to detect heavy meais on an electr ade consisting of a non-zine | {fish copper nor
performed. Analyses of zine in nae from 160 mug ta tS0G mu gélin NEALsu ue 4A¢ (0.05 Wi sciution was curried out
scan rate of 10 mV/sec. pulse height TO mV, and a 120 seconds cepasition ‘ime was used,

     

 

Ac solution. In FIG. 4. currarit (109 mA) is shown versus povential cmv).

 

FIG. 4 shows 2 valiam jam were zinc was added successively to the NH

 

 
  

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Ags seen in FiG. 4, the addition of zinc resulted in a corresponding increase in the currént signa
concentrasion {mu The peak currant is corrected for 2 1.3 muA offset As shown, there is
conditions were asin FIG, 4.

   

ak current (.mu.A} as @ junction of zinc
Setween the variables. The expanmenial

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2 situation will appear f

 

sa indicate that an anaig

 

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The results obtained in this section prove that cine can be detected on the der
heavy metals, ike cadmium, lead anc copper.

ated by performing twe paralleis and is shown :n Tabie 1 Tabie 1 shows analyses of zinc on cental amalgam electrode. two parailels. The table
tandard deviation and the relative standard deviation are listed in the

 

The reproducibility was invest
shows the current values {corrected fcr offset) obtained in each parailel, Also the average resporse. Ihe 5

    

 

table.

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As seer in Table 1, here is a relalive standard deviation of about 74%. This is good with @ view that the electrode surfacs af the working electiede onty was polish with soft
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ne (Zn}, 105 mu.gfl cadmium (Cd) and 199 .mu.gf iead (Pb) is pictted,

     
  

Same analyses were 2

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10 mvisec. se height 106 mV, and 189 seconds deposition

shown in FIG. 6 multaneaus detection of 150 mu

       
 

     

 

   

   

CONCLUESICNS

    

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found tata working electrode consisting of dental amalgam can be used in vel
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Fram the grven results
Further improvements can obvicusly 2lso be obtained by of
Patent application 7992 1274, Nonvay)

   

 
 
  
 

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Case 2:11-cv-11542-LPZ-MKM ECF No. 4, PagelD.74 Filed 05/09/11 Page 48 of 50
» Patent # 7,056,431. Method for electrochemical analyses - Patents.com Page 4 of 4

having described preferred embodiments of the invention it will oe apparent ic those skited in the art that otner empodiments incorporating the concants may ba used. These and
pies of ihe invention illustrated above are intended by way of example only and ihe actual scape of the invention is te be determined from the following claims

 

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» Patent € 4,512,744. Method enabling rapid identification of humans and animals ~ Pal...

Case 2:11-cv-11542-LPZ-MKM ECF No. 4, PagelD.75 Filed 05/09/11 Page 49 of 50

 

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Abstract

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Michnick; Bruce T. (Piainview, NY}, Kitzis; Stanley (voacbury, NY)
Dentistry Researchers & Designers, inc. {

 

Fillings and Extractions ,

Method enabling rapid identification of humans and animais

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Current U.S, Class:
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AG tC 5/59 (20060794
Field of Search:
References Cited
U.S. Patent Bocuments
April 1864
March if64

 

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Claims

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b. seeon armation indicia within said cavity:

qd. placing said #

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April 25, 1985

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» Patent # 4,512,744. Method enabling rapid identification of humans and animals - Pat... Page 2? of 2

 

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3 nvention relates to the sciance of identification, in general, and to a method ft

 

BACKGROUND OF THE INVENTION

  
  

 

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niied usefulness, Yhile the use of “dogtags” in
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on file represenTonly an infinitasimai number of persons, and the fingerprinting of school-age children is just Deginning, altho
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the mibtary continves to be @ common practice, instances often arise » e the “dog-tags" are destroyed. missing, cr otherwise net ay

   
   
   

       

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CETAILED DESCRIPTION OF THE INVENTION

 
 
 
 
 

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